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13                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
14

15                                                 Master File No. 3:17-cv-02537-VC
16
                                                   SECOND AMENDED CLASS ACTION
17    In re Sunrun Inc. Securities Litigation      COMPLAINT FOR VIOLATIONS OF
                                                   FEDERAL SECURITIES LAWS
18
                                                   JURY TRIAL DEMANDED
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 1            Lead Plaintiffs Ricky Elmore, Dmitri Karpov, William McCormick, Joseph McIntire, and

 2   Alice Twomey (collectively, “Plaintiffs” or “Lead Plaintiffs”), individually and on behalf of all other

 3   persons similarly situated, by Plaintiffs’ undersigned attorneys, for Plaintiffs’ complaint against

 4   Defendants (defined below), allege the following based upon personal knowledge as to Plaintiffs and

 5   Plaintiffs’ own acts, and information and belief as to all other matters, based upon, inter alia, the

 6   investigation conducted by and through Plaintiffs’ attorneys, which included, among other things, a

 7   review of the Defendants’ public documents, conference calls and announcements made by

 8   Defendants, United States Securities and Exchange Commission (“SEC”) filings, wire and press

 9   releases published by and regarding Sunrun Inc. (“Sunrun” or the “Company”), analysts’ reports and

10   advisories about the Company, and information readily obtainable on the Internet.

11                                           I.     INTRODUCTION
12            1.       This is a federal securities class action (the “Action”) on behalf of a class consisting

13   of all persons other than Defendants who purchased or otherwise acquired Sunrun securities between

14   September 16, 2015 and May 21, 2017, both dates inclusive (the “Class Period”), seeking to recover

15   damages caused by Defendants’ violations of the Securities Exchange Act of 1934 (the “Exchange

16   Act”).

17            2.       Sunrun is a solar power company. The Company sells and maintains residential solar

18   energy systems in the United States.

19            3.       Throughout the Class Period, Sunrun misled investors about a performance metric:

20   the amount of electricity the Company had contracted to sell, or “booked,” each quarter, otherwise

21   referred to as “Megawatts Booked.” As expressly defined, this metric was to be calculated net of

22   customer cancellations.

23            4.       In planning its August 2015 initial public offering (“IPO”), Sunrun sought to create

24   the impression of explosive growth in the period immediately following the IPO, as measured by,

25   inter alia, Megawatts Booked. Beginning in or around Spring 2015 and continuing for at least

26   several months after the IPO, Sunrun upper management directed regional sales managers to stop

27   indefinitely the internal reporting of customer contract cancellations. By deferring reporting these

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 1   cancellations, Sunrun increased its reported Megawatts Booked, thereby inflating measures of its

 2   performance and prospects, as well as its stock price.

 3          5.       In March 2016, Sunrun partially revealed the impact of its scheme. In reporting its

 4   fourth quarter 2015 results, the Company disclosed that it would not be growing at the rate that its

 5   previously inflated bookings had led investors to expect.          Importantly, Defendants failed to

 6   acknowledge that these lower growth rates were due, at least in part, to Sunrun’s prior artificial

 7   inflation of Megawatts Booked through deferring reporting of customer cancellations.                 By

 8   withholding this material information, Defendants misled investors regarding, among other things,

 9   management’s credibility and the Company’s exposure to risks of SEC sanctions. On the news

10   mentioned above, Sunrun’s share price fell by over 11%.

11          6.       Beginning in August 2016, Sunrun knowingly misled investors in a second way, that

12   is independent of the first. Sunrun repeatedly implied to investors that the increased cancellations it

13   had been experiencing were not materially and adversely affecting the Company’s business

14   operations. In fact, in early 2016, Sunrun had been forced to lower its internal growth estimates for

15   the fiscal year 2016 from 80% to 40% specifically as a result of increased cancellations, so increased

16   cancellations were indeed materially and adversely affecting Sunrun’s business.

17          7.       Relevant truths about the Company’s frauds were further revealed in May 2017. On

18   May 3, 2017, an article in The Wall Street Journal (“WSJ”) indicated that Sunrun had misled

19   investors regarding customer cancellations and their impact on its business, and revealed an SEC

20   investigation. On May 22, 2017, the WSJ revealed that former regional sales managers at Sunrun

21   had been instructed to withhold reporting cancellations of contracts in the months surrounding

22   Sunrun’s 2015 IPO. On this news, Sunrun’s shares again fell precipitously.

23                                  II.     JURISDICTION AND VENUE
24          8.       The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of the

25   Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC

26   (17 C.F.R. § 240.10b-5).

27          9.       This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

28   § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).
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 1           10.     Venue is proper in this Judicial District pursuant to § 27 of the Exchange Act (15

 2   U.S.C. § 78aa) and 28 U.S.C. § 1391(b) as Defendants conduct business and operate facilities in this

 3   district, and a significant portion of the Defendants’ actions, and the subsequent damages, took place

 4   within this Judicial District.

 5           11.     In connection with the acts, conduct and other wrongs alleged in this Complaint,

 6   Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

 7   including but not limited to, the United States mail, interstate telephone communications and the

 8   facilities of the national securities exchange.

 9                                              III.   PARTIES
10           12.     Plaintiffs, as set forth in the previously submitted Certifications, purchased Sunrun

11   securities at artificially inflated prices during the Class Period and were damaged thereby.

12           13.     Defendant Sunrun is incorporated in Delaware, and its headquarters and principal

13   executive offices are located at 595 Market Street, 29th Floor, San Francisco, California 94105.

14   Sunrun’s securities are traded on the NASDAQ under the ticker symbol “RUN.” Founded in 2007,

15   the Company designs, market, sells and leases solar power systems.

16           14.     Defendant Lynn Michelle Jurich (“Jurich”) has served at all relevant times as the

17   Company’s Chief Executive Officer (“CEO”) and Director.

18           15.     Defendant Robert Patrick Komin Jr. (“Komin”) has served at all relevant times as the

19   Company’s Chief Financial Officer (“CFO”).

20           16.     Defendants Jurich and Komin are sometimes collectively referred to herein as the

21   “Individual Defendants.”

22                                    IV.   SUBSTANTIVE ALLEGATIONS
23           A.      Background
24                   1.      Sunrun’s Solar Power Business
25           17.     Sunrun’s primary business is providing solar power to homes in the United States.

26   The Company sells solar power to customers either by selling solar power systems, which the

27   customers then own outright and may use to power their homes independently, or by selling solar

28   power through an ongoing agreement (the “Customer Agreement”).              Sunrun sells its products
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 1   directly to customers as well as indirectly through distributors.       Most of Sunrun’s customers

 2   purchase solar power through Customer Agreements.

 3            18.     Sunrun has two types of Customer Agreements. Under the first type, customers lease

 4   a solar power system from Sunrun, while under the second type, customers purchase the power

 5   produced by the solar energy system through a “net metering” plan, under which Sunrun charges the

 6   customer for the electricity the customer uses, less any excess electricity the customer generates

 7   through the solar panels but does not use, which is then diverted to other users or stored. Both types

 8   of Customer Agreements typically have an initial term of 20 years.

 9            19.     Under both types of Customer Agreements, Sunrun installs the solar power system at

10   the home of the customer. The installation requires a number of steps, including a site audit,

11   completion of designs for the installation, permitting, physical installation, electrical sign-off and

12   interconnection. Customers may cancel their Customer Agreement, subject to certain conditions, at

13   any time prior to the commencement of the physical installation of the solar power system.

14            20.     Sunrun tracks the success of its operations with what it labels “key operating

15   metrics,” which it discloses in each quarterly SEC filing. These metrics are highly material to

16   investors because they are direct indicators of the success of Sunrun’s operations. As Sunrun has

17   stated, “We regularly review a number of metrics, including [. . .] key operating metrics, to evaluate

18   our business, measure our performance, identify trends affecting our business, formulate financial

19   projections and make strategic decisions.”1

20            21.     One of these key operating metrics is “Megawatts Booked.” During the Class Period,

21   Sunrun defined “Megawatts Booked” as “the aggregate megawatt production capacity of our solar

22   energy systems sold directly to customers or subject to an executed Customer Agreement, net of

23   cancellations.”2 (Emphasis added.) Sunrun defined “Megawatts Deployed” during the Class Period

24
     1
         See., e.g., Sunrun, Inc., Annual Report on Form 10-K (Mar. 8, 2017) at 47.
25
     2
       Beginning with Sunrun’s Annual Report filed March 8, 2017, Sunrun defined “Megawatts
26   Booked” as “the aggregate megawatt production capacity of our solar energy systems, whether sold
     directly to customers or subject to an executed Customer Agreement, for which we have
27   confirmation that the systems have reached NTP, net of cancellations.”
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 1   as “the aggregate megawatt production capacity of our solar energy systems, whether sold directly to

 2   customers or subject to executed Customer Agreements, for which we have (i) confirmation that the

 3   systems are installed on the roof, subject to final inspection or (ii) in the case of certain system

 4   installations by our partners, accrued at least 80% of the expected project cost.”

 5          22.     In its press releases announcing its quarterly and annual results, Sunrun also provided

 6   guidance for the coming quarters and year regarding its expectations for these key operating metrics.

 7   During the Class Period, investors relied heavily on this guidance; analysts at KeyBanc Capital

 8   Markets, Bank of America Merrill Lynch, Morgan Stanley and Deutsche Bank Securities Inc.

 9   routinely cited Sunrun’s “Megawatts Booked” figures during the Class Period in assessing the

10   financial condition of the company and its proper valuation.

11          23.     Diagram A below illustrates the levels of the reporting chain in Sunrun’s sales

12   operations. Sunrun’s sales were made in the first instance by a group of some 600-800 “field sales

13   consultants.” These field sales consultants were managed by some 20-40 “regional sales managers”

14   across Sunrun’s operations, each of whom oversaw around fifteen or more field sales consultants.

15   The regional sales managers reported to between five to seven “regional sales directors,” all of

16   whom reported to the Chief Sales Officer, Bill Schuh (or after Schuh left the company, to Vice

17   President of Sales Kurt Miller, and after Miller left, to Vice President of Sales Matthew Woods) who

18   in turn reported directly to Defendant Jurich.

19          24.     [This paragraph is intentionally left blank.]

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 1          Diagram A

 2
                                                                 CEO LYNN JURICH
 3

 4

 5                                                            CSO BILL SCHUH/VP SALES
                                                                    KURT MILLER
 6

 7
                                REGIONAL SALES DIRECTOR                                     REGIONAL SALES DIRECTOR
 8                                 (E.G., PATRICK KENT)                                       (E.G., AUSTIN FROGGE)


 9

10                              REGIONAL SALES MANAGER                                      REGIONAL SALES MANAGER
                                (E.G., DARREN JENNINGS)                                      (E.G., EVAN STOCKDALE)
11

12                FIELD SALES         FIELD SALES          FIELD SALES        FIELD SALES         FIELD SALES          FIELD SALES
                 CONSULTANT          CONSULTANT           CONSULSTANT        CONSULTANT          CONSULTANT           CONSULTANT
13

14
                       2.         Sunrun’s IPO
15
            25.        Participants in the financial industry commonly recognize that in public markets, as
16
     elsewhere, first impressions matter. The post-IPO period is extremely important. If the company
17
     does well during this period, the company can establish itself as a solid investment opportunity and
18
     lay the foundation for a stable share price. If, however, a new company performs poorly post-IPO,
19
     investors quickly view the company negatively.
20
            26.        Defendants were highly aware of the importance of Sunrun’s post-IPO performance.
21
     Given that the solar power industry is in its infancy, investors are relatively inexperienced in
22
     investing in the industry and valuing industry participants.                            Accordingly, Sunrun’s IPO was
23
     especially critical for the Company.
24
            B.         Sunrun Misled Investors About Megawatts Booked Figures
25
            27.        In order to bolster its key operating metrics around Sunrun’s August 2015 IPO,
26
     Defendants engaged in a fraudulent scheme to inflate the Megawatts Booked figures reported to
27
     investors. Starting no later than March 2015, and continuing at least into the fourth quarter of 2015,
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 1   Sunrun delayed reporting of cancellations in two ways. First, Sunrun executives, at the level of

 2   Chief Sales Officer/Vice President of Sales, or at one level above, at the level of CEO Defendant

 3   Jurich (see Diagram A), directed regional sales managers to withhold or delay reporting customers’

 4   cancellations of their contracts to the department at Sunrun responsible for recording those customer

 5   cancellations in Sunrun’s internal SalesForce database (referred to herein as the “Cancellations

 6   Department”). Sunrun regional sales managers complied with this directive from Sunrun executives

 7   and delayed or withheld reporting cancellations of contracts customers had cancelled. Second, after

 8   regional sales managers ultimately reported these customer cancellations to the Cancellations

 9   Department, the Cancellations Department would delay recording the cancelled contracts as

10   cancelled, sometimes for as long as six months or more.

11          28.     In this way, Sunrun inflated its publicly reported Megawatts Booked figures for at

12   least the first two quarters following its IPO, thereby ensuring a favorable initial view of the

13   company.

14          29.     Sunrun divides its operations into six to seven regions, including among others

15   Southern California, Northern California, East Coast, and Mid-West.          Sunrun’s scheme was

16   implemented in all major regions in which it operated, including Southern and Northern California

17   (which houses roughly 50% of Sunrun’s customers), Hawaii (another one of Sunrun’s largest

18   markets) and the East Coast. On information and belief, Sunrun implemented this scheme in all

19   other geographical areas in which Sunrun operates.

20          30.     Sunrun materially underreported customer cancellations in the months surrounding

21   the IPO. The rate at which customers cancelled their contracts with Sunrun was extremely high at

22   all relevant times, and was increasing over the years 2015 and 2016. A confidential witness

23   (“CW1”) has estimated that approximately 30% of total orders at Sunrun were cancelled in the years

24   2012 to 2017. CW1 was a Project Manager and Field Installation Coordinator at Sunrun from

25   February 2012 to January 2017, where CW1’s job responsibilities included assisting Sunrun

26   customers from the time they signed their contract through the installation process, and was the

27   individual whom customers would contact when they wanted to cancel their contracts with Sunrun.

28   CW1 worked out of Sunrun’s branch office in Westminster, Colorado.
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 1          31.       A second confidential witness (“CW2”) has estimated that in 2016, customers

 2   routinely cancelled between 40-48% of Sunrun’s total orders in Sunrun’s Northern California region,

 3   and that the cancellation rate for Sunrun nationwide was approximately 42%. CW2 worked as a

 4   Branch Operations Manager at Sunrun from March 13, 2016 to December 26, 2016, where CW2

 5   oversaw all operations at Sunrun’s Novato, California branch. CW2’s job responsibilities were

 6   broad and included scheduling work and installations at the branch, hiring and dismissing

 7   employees, and training new employees. CW2 reported to Greg Miller, one of three Directors of

 8   Regional Operations at Sunrun, who reported in turn to VP of Regional Operations Ryan Zink, who

 9   reported to Defendant CEO Jurich.

10          32.       Given Sunrun’s high customer cancellation rate, Sunrun’s directive to regional sales

11   managers to withhold reporting cancellations resulted in Sunrun’s failing to report cancellations of

12   contracts equaling a significant fraction of total orders. As Darren Jennings, a Sunrun regional sales

13   manager in Hawaii from February 2015 until February 2017, has stated, employees in the Hawaii

14   region routinely did not process cancellations amounting to approximately 40% of total orders.

15   Other regions, facing similar cancellation rates, and acting on the same directives from Sunrun

16   management as those given to Hawaii managers to withhold reporting cancellations, also delayed

17   processing cancellations amounting to similar percentages of total orders for those regions.

18          33.       Sunrun’s policy of delaying reporting cancellations of Customer Agreements

19   originated from upper management. In Spring 2015, Sunrun regional mangers joined a national

20   conference call attended by Sunrun executives at the level of Chief Sales Officer/Vice President of

21   Sales, or at one level above, at the level of CEO Defendant Jurich (the “Spring 2015 Conference

22   Call”). On this call, the Sunrun executives directed the regional sales managers to delay reporting

23   cancellations.

24          34.       Confidential witnesses confirm that Defendant Jurich was informed of, and

25   sometimes directly participated in, conference calls held among the sales management team. A third

26   confidential witness (“CW3”) was a regional sales manager at Sunrun from February 2014 to

27   November 2017 and was based in San Diego, California. As a regional sales manager, CW3

28   managed and mentored a team of field sales consultants who sold solar power systems to customers
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 1   in their homes. CW3 reported to Regional Sales Director David Shaw through May 2015 and to

 2   Regional Sales Director Austin Frogge during the remainder of CW3’s time at Sunrun. CW3 has

 3   confirmed that Sunrun held weekly nationwide conference calls attended by all the regional sales

 4   managers, regional sales directors, and Vice Presidents of Sales. CW3 stated that Defendant Jurich

 5   participated in these calls herself on occasion.

 6             35.   Statements of a fourth confidential witness (“CW4”) also confirm that Defendant

 7   Jurich was informed of conference calls held among the sales management team. CW4 worked as a

 8   Senior Project Coordinator, Retail Strategy & Field Operations at Sunrun from September 2014 to

 9   August 2017 in Sunrun’s San Francisco, California offices where CW4 organized Sunrun’s

10   canvassing program and recruited canvassers. CW4 reported to Revenue Operations Manager Brian

11   Morrison, who in turn reported to the Vice President of Sales. Approximately once a month, CW4

12   would attend conference calls held by the sales management team. Asked whether anyone reported

13   on such sales calls to Jurich, CW4 stated: “Oh yeah, she most definitely heard about the calls.”

14             36.   CW2 has confirmed that the content of what was discussed at similar conference

15   calls, among the operations team, was regularly reported directly to Sunrun’s CEO, Defendant

16   Jurich.    According to CW2, Sunrun held weekly conference calls each Thursday among the

17   operations team that were attended by the regional operations managers as well as Senior Director of

18   Field Operations Jason Zink. CW2 stated that Zink regularly reported what was discussed at these

19   weekly conference calls directly to Defendant Jurich.

20             37.   At least four former Sunrun managers confirmed that they were aware of, or

21   participated in, withholding reporting customer cancellations in the months prior to and following

22   Sunrun’s IPO.

23             38.   Darren Jennings, a Sunrun regional sales manager in Hawaii from February 2015

24   until February 2017, attended the Spring 2015 Conference Call. Jennings has stated that he and

25   other regional sales managers were directed by superiors to delay processing customer cancellations.

26   According to Jennings, following this directive, sales employees in Hawaii did not process about 200

27   cancellations, equal to approximately 40% of total orders in Hawaii.

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 1          39.     Evan Stockdale also attended the Spring 2015 Conference Call. Stockdale was a

 2   Sunrun regional manager from April 2015 to January 2016 in Fresno, California. Stockdale has

 3   confirmed that regional sales managers (including managers in California) were directed by their

 4   superiors on a conference call to delay reporting cancellations. According to Stockdale, managers

 5   complied—managers did not process customer cancellations in the months before and after the IPO.

 6   Stockdale explained that superiors pressured managers to delay cancellations in order to inflate sales

 7   figures: “We were pushed for sales numbers.”

 8          40.     CW3 has confirmed that Sunrun delayed reporting cancellations in the second way

 9   described above: CW3 has stated that after regional sales managers ultimately reported customer

10   cancellations to the Cancellations Department, the Cancellations Department would delay recording

11   the cancelled contracts as cancelled, sometimes for as long as six months or more.

12          41.     At least one other former Sunrun manager has confirmed that he or she was aware of

13   or took part in delaying the reporting of hundreds of customer cancellations.

14          C.      Upon Partial Revelation of Sunrun’s Fraud in 2016, Sunrun’s Stock Price
                    Dropped
15
            42.     Having led the market to believe that it had successfully navigated the IPO period by
16
     inflating reported Megawatts Booked, Sunrun began in 2016 to disclose its backlog of customer
17
     cancellations by incorporating these cancellations into its performance metrics. In March 2016,
18
     Sunrun revealed a lower growth rate for that period in Megawatts Booked, and importantly,
19
     projected significantly lower growth rates in Megawatts Deployed going forward than Sunrun’s
20
     inflated Megawatts Booked figures had led analysts to expect.
21
            43.     Specifically, on March 10, 2016, after the market closed, Sunrun issued a press
22
     release in which it stated, “For 2016, we expect to deploy approximately 285 MW.” This figure was
23
     significantly below analysts’ expectations. Based on prior (inflated) performance metrics, analysts
24
     had projected that Sunrun would deploy approximately 345-363 megawatts in 2016. Accordingly,
25
     Sunrun’s guidance for 2016 of 285 Megawatts Deployed represented a rate of growth that was more
26
     than 20% lower than what analysts had expected. Sunrun also reported a significant downturn in the
27

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 1   rate of Megawatts Booked in the fourth quarter of 2015 compared to the prior quarter—only 80

 2   MW, a decrease of 10%, and approximately 25% less than that of its primary competitor, Solar City.

 3          44.    The Company failed to disclose that it had manipulated analysts’ expectations in prior

 4   periods by inflating reported Megawatts Booked.

 5          45.    Analysts expressed concern about these results.      Vishal Shah at Deutsche Bank

 6   Securities Inc. stated in a March 11, 2016 report that, “We anticipate disappointing 2016 deployment

 7   guidance of 40% YoY to be the biggest investor focus post Q4 results.” Analysts Matt Tucker and

 8   Grier Buchanan at KeyBanc Capital Markets wrote in bolded text, “1Q and 2016 Guidance Below

 9   Our Estimates,” and that “Management expects to deploy ~285 MW (+40% YOY) in 2016, which

10   compares to our estimate of 345 MW . . . .” Analysts at Morgan Stanley stated bluntly, “2016

11   guidance was disappointing relative to our estimates, and we are lowering our price target from $28

12   to $19 to reflect a more conservative view on long-term growth.”

13          46.    After Sunrun issued its March 10, 2017 press release, its share price fell $0.80, or

14   11.12%, to close at $6.36 on March 11, 2016, on unusually heavy trading volume.

15          D.     Sunrun Misled Investors To Believe that Increased Cancellations Were Not
                   Materially and Adversely Affecting Its Business, When in Fact They Were
16
            47.    During the Class Period, Sunrun misled investors in a second way that is independent
17
     of the first—Sunrun misled investors about the effect of increased cancellations on Sunrun’s
18
     business operations by implying that the increased cancellations it had been experiencing were not
19
     materially and adversely affecting its business operations. Specifically, in its August 11, 2016,
20
     Second Quarter 2016 Form 10-Q, and in each quarterly and annual filing during the remainder of the
21
     Class Period, Sunrun told investors, “If we continue to experience increased customer cancellations,
22
     our financial results will potentially be materially and adversely affected.” With this statement,
23
     Sunrun clearly implied that Sunrun’s business was not already being materially and adversely
24
     affected by increased customer cancellations.
25
            48.    In fact, increased customer cancellations already had harmed Sunrun’s operations
26
     severely, and Sunrun clearly knew this fact when it directly and repeatedly implied the contrary. A
27
     fourth confidential witness (“CW5”) worked for a major international newspaper and personally
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 1   conducted interviews of Sunrun employees in 2017 to obtain information for a story CW5 authored.

 2   CW5 spoke directly to one of the following three individuals: Defendant Jurich, Defendant Komin

 3   or Sunrun Chairperson of the Board Edward Fenster (the “High-Level Informant”), and was told by

 4   the High-Level Informant that Sunrun was forced to lower its growth estimates for the fiscal year

 5   2016 from 80% to 40% specifically as a result of increased cancellations.            The High-Level

 6   Informant, who during the Class Period either was, or worked directly with, Sunrun’s CEO,

 7   Defendant Jurich, was present when the decision to lower growth estimates was made internally.

 8           49.    That increased customer cancellations were materially and adversely affecting

 9   Sunrun’s business mattered significantly to investors. Investors care about all factors that materially

10   and adversely affect a company’s operations, as knowledge of such factors permits investors to

11   assess important risks the company faces. Investors particularly would have wanted to know that

12   increased cancellations were significantly harming Sunrun’s business, as trends relating to such

13   cancellations had a direct impact on Sunrun’s revenue and profitability.

14           E.     Upon Additional Revelations of Sunrun’s Frauds in 2017, Sunrun’s Stock Price
                    Dropped Again
15
             50.    Importantly, the market’s reaction to Sunrun’s March 10, 2016 press release only
16
     partially corrected the distortion caused by Sunrun’s fraud. Investors were not told the degree to
17
     which the prior inflation contributed to the slower expected growth, or the legal and reputational
18
     liability arising from the scheme: Sunrun did not reveal that it had overstated Megawatts Booked in
19
     2015, or that it had done so deliberately.
20
             51.    Those revelations did not occur until May 2017, when two articles in the WSJ
21
     exposed the full extent of Sunrun’s fraud. The first article, published May 3, 2017 and titled “SEC
22
     Probes Solar Companies Over Disclosure of Customer Cancellations,” indicated that the SEC was
23
     examining whether Sunrun had “adequately disclosed how many customers ha[d] canceled contracts
24
     after signing up for a home solar-energy system.”3
25

26
     3
      Kirsten Grind, SEC Probes Solar Companies Over Disclosure of Customer Cancellations, The Wall
27   Street Journal (May 3, 2017).
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 1            52.        The article simultaneously revealed that Sunrun had misled investors about the effect

 2   of increased cancellations on Sunrun’s business operations. The article stated:

 3            [Sunrun’s] cancellation figure grew to be as high as 40% earlier this year, according
              to people familiar with the figure. [. . .] The increase in cancellations caused Sunrun
 4            to halve its growth expectations in 2016 from 80% to 40%, one of these people said.
 5            53.        On this news, Sunrun’s share price fell $0.46, or 8.83%, to close at $4.75 on May 3,
 6   2017, on unusually heavy trading volume.
 7            54.        The second article, published on May 22, 2017 and titled, “Solar Company Sunrun
 8   Was Manipulating Sales Data, Say Former Managers,” revealed that four Sunrun managers had been
 9   requested by their superiors to delay reporting, or otherwise to underreport, cancellations of
10   customer contracts in the months surrounding Sunrun’s IPO in 2015.
11            55.        On this news, Sunrun’s share price fell $0.15, or 2.97%.
12            56.        As a result of Defendants’ wrongful acts and omissions, and the precipitous decline in
13   the market value of the Company’s securities, Plaintiffs and other Class members have suffered
14   significant losses and damages.
15                      V.    DEFENDANTS’ FALSE AND MISLEADING STATEMENTS
16            A.         Defendants’ False and Misleading Statements in 2015
17                       1.     Second Quarter 2015 Results
18            57.        Sunrun reported results for the second quarter ended June 30, 2015 in a Form 10-Q
19   filed September 15, 2015. The Company reported net income of $7.54 million, or $0 per diluted
20   share.
21            58.        With respect to Megawatts Booked, the Second Quarter Form 10-Q stated in part:
22            Key Operating Metrics
23
              [. . .]
24
              Megawatts Booked represents the aggregate megawatt production capacity of our
25            solar energy systems sold to customers or subject to an executed customer agreement,
              net of cancellations.
26
              [. . .]
27

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 1          For the Three Months Ended June 30, 2015, Megawatts booked (during the period)
            [were] 61.2 [where this figure] Includes 14.7 MWs associated with purchase of asset
 2          portfolio in the second quarter of 2014.
 3          59.       With respect to Sunrun’s internal controls, the Second Quarter Form 10-Q stated:
 4          Our management, with the participation of our Chief Executive Officer and our Chief
 5          Financial Officer, has evaluated the effectiveness of our disclosure controls and
            procedures as of the end of the period covered by this Quarterly Report on Form 10-
 6          Q.

 7          [. . .]
 8          Based on such evaluation, our Chief Executive Officer and Chief Financial Officer
            have concluded that, as a result of material weakness in our internal control over
 9          financial reporting as previously disclosed in our prospectus dated August 4, 2015,
10          filed with the SEC pursuant to Rule 424 promulgated under the Securities Act of
            1933, as amended, our disclosure controls and procedures were not effective as of
11          June 30, 2015.

12          [. . .]
13          In connection with the preparation, audits and interim reviews of our consolidated
            financial statements, we identified a material weakness in internal control over
14
            financial reporting. [. . .] Specifically, we identified material errors related to the
15          accounting for our deferred tax liabilities, prepaid tax assets and related amortization
            as it related to income taxes incurred on intercompany transactions. The foregoing
16          resulted in the restatement of our prior financial statements. In addition, subsequent
            to the three months ended March 31, 2015, we also identified and corrected an
17          immaterial error related to the accounting for taxes on intercompany transactions.
18          60.       Defendants Jurich and Komin also certified compliance with all the disclosure
19   requirements of the securities laws:       “each of the undersigned officers of Sunrun Inc. (the
20   “Company”) hereby certifies that the Company’s Quarterly Report on Form 10-Q for the period
21   ended June 30, 2015 (the “Report”) fully complies with the requirements of Section 13(a) or 15(d) of
22   the Securities Exchange Act of 1934 and that the information contained in the Report fairly presents,
23   in all material respects, the financial condition and results of operations of the Company.”
24          61.       The statements referenced in ¶¶ 57-60 above were materially false and/or misleading
25   because:     (i) Sunrun’s reported financial results were inflated to the extent that they did not
26   recognize reserves for liabilities, including sanctions, relating to its overstatement of Megawatts
27   Booked, and did not disclose the risk of adverse events or sanctions arising from such misconduct;
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 1   (ii) Sunrun materially overstated the number of Megawatts Booked during the period by

 2   misrepresenting that the number of Megawatts Booked was calculated net of all cancellations during

 3   the period, when in fact, Sunrun was subtracting materially fewer than all cancellations during the

 4   period in calculating the number of Megawatts Booked; (iii) Sunrun’s statements relating to the

 5   adequacy of its internal controls failed to disclose that, in addition to any weaknesses described,

 6   these controls failed to prevent Sunrun’s overstatements of its Megawatts Booked and the resulting

 7   misrepresentations in Sunrun’s financial reporting; (iv) Sunrun’s SEC filing did not fairly present

 8   Sunrun’s financial condition and results of operations because Sunrun overstated the number of

 9   Megawatts Booked, inflated financial results by failing to recognize reserves, and failed to disclose

10   the risk of liabilities arising from this scheme, as required, inter alia, by Item SK-303, 17 C.F.R.

11   229.303.

12                      2.     Third Quarter 2015 Results
13            62.       Sunrun reported results for the third quarter ended September 30, 2015 in a Form 10-

14   Q filed November 13, 2015. The Company reported a net loss of $2.77 million, or $0.41 per diluted

15   share.

16            63.       With respect to Megawatts Booked, the Third Quarter Form 10-Q stated:

17            Key Operating Metrics

18            [. . .]
19            Megawatts Booked represents the aggregate megawatt production capacity of our
              solar energy systems sold to customers or subject to an executed customer agreement,
20
              net of cancellations.
21
              [. . .]
22
              For the Three Months Ended September 30, 2015, Megawatts booked (during the
23            period) [were] 94.5.
24            64.       The statements referenced in ¶¶ 62-63 above were materially false and/or misleading
25   for the same or substantially similar reasons as those set forth above at ¶ 61(i)-(ii).
26            65.       The Third Quarter 2015 Form 10-Q contained the same or substantially similar
27   attestations of internal controls and certification of accuracy of reported results and financial
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 1   condition as those set forth above at ¶¶ 59-60, which were false and misleading for the same or

 2   substantially similar reasons as those set forth above at ¶ 61(iii)-(iv).

 3            B.     Defendants’ False and Misleading Statements in 2016
 4                   1.      Fourth Quarter and Year End 2015 Results
 5            66.    Sunrun reported results for the fourth quarter and year end of 2015 in a Form 10-K

 6   filed March 11, 2016. The Company reported a net loss of $15.02 million, or $0.07 per diluted share

 7   for the fourth quarter of 2015. For fiscal year 2015, Sunrun reported a net loss of $28.25 million, or

 8   $0.96 per diluted share.

 9            67.    With respect to Sunrun’s internal controls, the 2015 10-K stated in part:

10            We carried out an evaluation, under the supervision and with the participation of our
              management, including our Chief Executive Officer and our Chief Financial Officer,
11            of the effectiveness of our “disclosure controls and procedures” as of the end of the
              period covered by this Annual Report on Form 10-K, pursuant to Rules 13a-15(e) and
12
              15d-15(e) under the Exchange Act.
13
              In connection with that evaluation, our Chief Executive Officer and our Chief
14            Financial Officer concluded that our disclosure controls and procedures were
              effective and designed to provide reasonable assurance that the information required
15            to be disclosed is recorded, processed, summarized and reported within the time
              periods specified in the Securities and Exchange Commission rules and forms as of
16            December 31, 2015.
17
              68.    The statements referenced in ¶¶ 66-67 above were materially false and/or misleading
18
     for the same or substantially similar reasons as those set forth above at ¶ 61(i), (iii).
19
              69.    The 2015 10-K contained the same or a substantially similar certification of accuracy
20
     of reported results and financial condition as that set forth above at ¶ 60, which was false and
21
     misleading for the same or substantially similar reasons as those set forth above at ¶ 61(iv).
22
                     2.      First Quarter 2016 Results
23
              70.    Sunrun reported results for the first quarter of 2016, ended March 31, 2016, in a Form
24
     10-Q filed May 12, 2016. The Company reported net income of $13.13 million, or $0.13 per diluted
25
     share.
26
              71.    The statements referenced in ¶ 70 above were materially false and/or misleading for
27
     the same or substantially similar reasons as those set forth above at ¶ 61(i).
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 1          72.       The First Quarter 2016 Form 10-Q contained the same or substantially similar

 2   attestations of internal controls and certification of accuracy of reported results and financial

 3   condition as those set forth above at ¶¶ 60, 67, which were false and misleading for the same or

 4   substantially similar reasons as those set forth above at ¶ 61(iii)-(iv).

 5                    3.     Second Quarter 2016 Results
 6          73.       Sunrun reported results for the second quarter of 2016, ended June 30, 2016, in a

 7   Form 10-Q filed August 11, 2016. The Company reported net income of $32.64 million, or $0.31

 8   per diluted share.

 9          74.       In comparing Megawatts Booked for the second quarter 2016, the Form 10-Q

10   compared results to the uncorrected and inflated second quarter 2015 results:

11          Key Operating Metrics

12          [. . .]
13          Megawatts Booked represents the aggregate megawatt production capacity of our
            solar energy systems sold directly to customers or subject to an executed Customer
14
            Agreement, net of cancellations.
15
            [. . .]
16
            For the Three Months Ended June 30, 2015, Megawatts booked (during the period)
17          [were] 61.
18          75.       In its Second Quarter 2016 Form 10-Q, Sunrun stated in part: “If we continue to
19   experience increased customer cancellations, our financial results will potentially be materially and
20   adversely affected.” Sunrun made the same or substantially similar statements in its Quarterly
21   Report on Form 10-Q filed November 10, 2016, Annual Report on Form 10-K filed March 8, 2017,
22   and Quarterly Report on Form 10-Q filed May 10, 2017.
23          76.       The statements referenced in ¶ 73 above were materially false and/or misleading for
24   the same or substantially similar reasons as those set forth above at ¶ 61(i). In addition, the
25   statements referenced in ¶¶ 74-75 above were materially false and/or misleading because: (i) Sunrun
26   materially overstated (and failed to correct its prior misstatement of) the number of Megawatts
27   Booked during the three months ending June 30, 2015 by misrepresenting that the number of
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 1   Megawatts Booked was calculated net of all cancellations during that period, when in fact, Sunrun

 2   was subtracting materially fewer than all cancellations during that period in calculating the number

 3   of Megawatts Booked; (ii) Sunrun’s statements regarding customer cancellations implied that

 4   Sunrun’s results by the time it made each such statement had not already been materially and

 5   adversely affected by increased customer cancellations, when in fact they had been.

 6          77.       The Second Quarter 2016 Form 10-Q contained the same or substantially similar

 7   attestations of internal controls, and certification of accuracy of reported results and financial

 8   condition as set forth above at ¶¶ 60, 67, which were false and misleading for the same or

 9   substantially similar reasons as those set forth above at ¶ 61(iii)-(iv).

10                    4.     Third Quarter 2016
11          78.       Sunrun reported results for the third quarter of 2016, ended September 30, 2016, in a

12   Form 10-Q filed November 10, 2016. The Company reported net income of $16.88 million, or

13   $0.16 per diluted share.

14          79.       In comparing Megawatts Booked for the third quarter 2016, the Form 10-Q compared

15   results to the uncorrected and inflated third quarter 2015 results:

16          Key Operating Metrics

17          [. . .]
18          Megawatts Booked represents the aggregate megawatt production capacity of our
            solar energy systems sold directly to customers or subject to an executed Customer
19
            Agreement, net of cancellations.
20
            [. . .]
21
            For the Three Months Ended September 30, 2015, Megawatts booked (during the
22          period) [were] 95.
23          80.       The statements referenced in ¶¶ 78-79 above were materially false and/or misleading
24   for the same or substantially similar reasons as those set forth above at ¶¶ 61(i), 76(i).
25          81.       The Third Quarter 2016 Form 10-Q contained the same or substantially similar
26   attestations of internal controls, and certification of accuracy of reported results and financial
27

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 1   condition as set forth above at ¶¶ 60, 67, which were false and misleading for the same or

 2   substantially similar reasons as those set forth above at ¶ 49(iii)-(iv).

 3           C.      Defendants’ False and Misleading Statements in 2017
 4                   1.      Fourth Quarter and Year End 2016
 5           82.     Sunrun reported results for the fourth quarter and year end of 2016, in a Form 10-K

 6   filed March 8, 2017. The Company reported net income of $29.03 million, or $0.27 per diluted

 7   share for the fourth quarter. For fiscal year 2016, Sunrun reported net income of $91.69 million, or

 8   $0.87 per diluted share.

 9           83.     The statements referenced in ¶ 82 above were materially false and/or misleading for

10   the same or substantially similar reasons as those set forth above at ¶ 61(i).

11           84.     The 2016 Form 10-K contained the same or substantially similar attestations of

12   internal controls, and certification of accuracy of reported results and financial condition as set forth

13   above at ¶¶ 60, 67, which were false and misleading for the same or substantially similar reasons as

14   those set forth above at ¶ 61(iii)-(iv).

15                   2.      First Quarter 2017
16           85.     Sunrun reported results for the first quarter of 2017, ended March 31, 2017, in a Form

17   10-Q filed May 10, 2017. The Company reported net income of $12.7 million.

18           86.     The statements referenced in ¶ 85 above were materially false and/or misleading for

19   the same or substantially similar reasons as those set forth above at ¶ 61(i).

20           87.     The First Quarter 2017 Form 10-Q contained the same or substantially similar

21   attestations of internal controls, and certification of accuracy of reported results and financial

22   condition as set forth above at ¶¶ 60, 67, which were false and misleading for the same or

23   substantially similar reasons as those set forth above at ¶ 61(iii)-(iv).

24                           VI.     ADDITIONAL SCIENTER ALLEGATIONS
25           88.     Sunrun, Jurich and Komin each knew that Sunrun reported inflated Megawatts

26   Booked figures during the Class Period, and each knew the false and misleading nature of the

27   statements discussed above, or at a minimum was reckless for not knowing these matters.

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 1           89.     That Sunrun executives, at the level of Chief Sales Officer/Vice President of Sales, or

 2   at one level above, at the level of CEO Defendant Jurich, joined a national conference call with all

 3   regional sales managers, on which the Sunrun executives directed the regional sales managers to

 4   delay reporting cancellations, makes clear that either Defendant Jurich herself, or executives one

 5   level removed from Defendant Jurich, issued this directive or were personally aware of it.

 6           90.     The significance of the directive to withhold reporting cancellations was so great for

 7   the Company that the order must have come from, or been known to, Defendants, including the

 8   Individual Defendants. Given that Sunrun’s customer cancellation rate was between 30% and 48%,

 9   a directive to withhold reporting such cancellations would have significantly inflated Sunrun’s key

10   operating metrics, and Defendants would have known about a directive that would have such a

11   significant effect.

12           91.     Defendant Jurich served as CEO of Sunrun at all relevant times and was a Director of

13   Sunrun throughout the Class Period. As CEO, Jurich was the head of Sunrun’s management and

14   operations teams. Defendants Komin served as CFO of Sunrun at all relevant times and likewise

15   served as a Director of Sunrun throughout the Class Period. Jurich, by virtue of her responsibilities

16   and activities as CEO and Director of the Company, was privy to all material information concerning

17   Sunrun’s key operating metrics, including all information concerning Sunrun’s widespread request

18   that managers delay reporting cancellations during the period surrounding Sunrun’s IPO. Likewise,

19   Komin, as CFO, was privy to, and participated in, all matters directly impacting the financial aspects

20   of Sunrun’s core business, including the delaying of cancellations so as to inflate the price of

21   Sunrun’s stock during the critical financial period before and after its IPO.

22           92.     The core of Sunrun’s business is the selling of solar power to customers in the United

23   States. As explained above, Sunrun measures and reports the amount of solar power it sells to

24   customers in “Megawatts Booked” and “Megawatts Deployed.” Sunrun itself labels these figures

25   “key operating metrics,” and so admits that they are “key” in measuring Sunrun’s operations and

26   therewith its core business. Indeed, Sunrun has repeatedly explained the importance in its SEC

27   filings of these “key operating metrics,” including Megawatts Booked and Megawatts Deployed:

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 1          We regularly review a number of metrics, including the following key operating
            metrics, to evaluate our business, measure our performance, identify trends affecting
 2          our business, formulate financial projections and make strategic decisions.
 3          93.    Moreover, Sunrun has repeatedly emphasized in its SEC filings the importance of its
 4   Megawatts Booked and Megawatts Deployed figures to the value of its business in noting that
 5   Sunrun’s key operating metrics, along with its revenue, are the figures that investors use to value
 6   Sunrun:
 7          [O]ur actual revenue or key operating metrics in one or more future quarters may fall
 8          short of the expectations of investors and financial analysts. If that occurs, the trading
            price of our common stock could decline and you could lose part or all of your
 9          investment.

10          94.    Given the key importance of Sunrun’s measures of Megawatts Booked and
11   Megawatts Deployed to Sunrun’s business, strategy, and valuation, these key metrics constitute part
12   of Sunrun’s core business. Defendants Sunrun, Jurich and Komin each had knowledge of all
13   material information affecting Sunrun’s core business, and so had knowledge of all material
14   information affecting Sunrun’s Megawatts Booked and Megawatts Deployed figures.
15          95.    Statements of former Sunrun managers likewise make clear that Sunrun and the
16   Individual Defendants were aware of Sunrun’s plan to inflate its Megawatts Booked figures by
17   requesting managers to withhold or delay reporting of customer cancellations. (See supra ¶¶ 34-51.)
18          96.    Defendants scienter with respect to the effect of Sunrun’s increased cancellations on
19   its business is clear from, among other sources, the statements of CW5. CW5 has made clear that
20   either the Individual Defendants themselves, or else the Chairman of the Board of Sunrun, has
21   admitted that Sunrun was forced to lower its growth estimates for the fiscal year 2016 from 80% to
22   40% specifically as a result of increased cancellations. (See supra ¶ 48.) Accordingly, either the
23   Individual Defendants themselves have admitted to knowing that increased cancellations already
24   were materially and adversely affecting Sunrun’s business prior to August 2016, or else the
25   Chairman of the Board of Sunrun knew this fact, and his knowledge may be imputed to Sunrun. The
26   fact that one of the three highest ranking officers at Sunrun knew about this effect of increased
27   cancellations on Sunrun’s business prior to August 2016 also strongly supports the inference that the
28   Individual Defendants each knew of this effect.
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 1           97.     Defendants Jurich and Komin each signed certifications pursuant to the Sarbanes-

 2   Oxley Act of 2002 (“SOX”) for each SEC filing referenced in Part V above during her or his tenure

 3   as CEO or CFO. In these certifications, each of Jurich and Komin certified that she or he had

 4   reviewed the SEC filings and determined that they contained no false or misleading statements or

 5   omissions.

 6           98.     In virtue of their high-level positions, Jurich and Komin’s knowledge (or that of any

 7   other board member or high-ranking Sunrun officer) may be imputed to Sunrun.

 8                                VII.   CLASS ACTION ALLEGATIONS
 9           99.     Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

10   Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

11   acquired Sunrun securities publicly traded on the NASDAQ during the Class Period (the “Class”),

12   and were damaged upon the revelation of the alleged corrective disclosure. Excluded from the Class

13   are Defendants herein, the officers and directors of the Company, at all relevant times, members of

14   their immediate families and their legal representatives, heirs, successors or assigns and any entity in

15   which Defendants have or had a controlling interest.

16           100.    The members of the Class are so numerous that joinder of all members is

17   impracticable. Throughout the Class Period, Sunrun securities were actively traded on the

18   NASDAQ. While the exact number of Class members is unknown to Plaintiffs at this time and can

19   be ascertained only through appropriate discovery, Plaintiffs believe that there are hundreds or

20   thousands of members in the proposed Class. Record owners and other members of the Class may

21   be identified from records maintained by the Company or its transfer agent and may be notified of

22   the pendency of this action by mail, using the form of notice similar to that customarily used in

23   securities class actions.

24           101.    Plaintiffs’ claims are typical of the claims of the members of the Class as all members

25   of the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that is

26   complained of herein.

27

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 1          102.    Plaintiffs will fairly and adequately protect the interests of the members of the Class

 2   and have retained counsel competent and experienced in class and securities litigation. Plaintiffs

 3   have no interests antagonistic to or in conflict with those of the Class.

 4          103.    Common questions of law and fact exist as to all members of the Class and

 5   predominate over any questions solely affecting individual members of the Class. Among the

 6   questions of law and fact common to the Class are:

 7                  •       whether the federal securities laws were violated by Defendants’ acts as
 8                          alleged herein;

 9                  •       whether statements made by Defendants to the investing public during the
10                          Class Period misrepresented material facts about the financial condition,

11                          business, operations, and management of the Company;

12                  •       whether Defendants’ public statements to the investing public during the Class
13                          Period omitted material facts necessary to make the statements made, in light

14                          of the circumstances under which they were made, not misleading;

15                  •       whether the Individual Defendants caused the Company to issue false and
16                          misleading SEC filings and public statements during the Class Period;

17                  •       whether Defendants acted knowingly or recklessly in issuing false and
18                          misleading SEC filings and public statements during the Class Period;

19                  •       whether the prices of Sunrun securities during the Class Period were
20                          artificially inflated because of the Defendants’ conduct complained of herein;

21                          and

22                  •       whether the members of the Class have sustained damages and, if so, what is
23                          the proper measure of damages.

24          104.    A class action is superior to all other available methods for the fair and efficient

25   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

26   damages suffered by individual Class members may be relatively small, the expense and burden of

27   individual litigation make it impossible for members of the Class to individually redress the wrongs

28   done to them. There will be no difficulty in the management of this action as a class action.
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 1          105.     Plaintiffs will rely, in part, upon the presumption of reliance established by the fraud-

 2   on-the-market doctrine in that:

 3                   •      Defendants made public misrepresentations or failed to disclose material facts

 4                   during the Class Period;

 5                   •      the omissions and misrepresentations were material;

 6                   •      Sunrun securities are traded in efficient markets;

 7                   •      the Company’s securities were liquid and traded with moderate to heavy

 8                   volume during the Class Period;

 9                   •      the Company traded on the NASDAQ, and was covered by multiple analysts;

10                   •      the misrepresentations and omissions alleged would tend to induce a

11                   reasonable investor to misjudge the value of the Company’s securities; and

12                   •      Plaintiffs and members of the Class purchased and/or sold Sunrun securities

13                   between the time the Defendants failed to disclose or misrepresented material facts

14                   and the time the true facts were disclosed, without knowledge of the omitted or

15                   misrepresented facts.

16          106.     Based upon the foregoing, Plaintiffs and the members of the Class are entitled to a

17   presumption of reliance upon the integrity of the market.

18          107.     Alternatively, Plaintiffs and the members of the Class are entitled to the presumption

19   of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v. United

20   States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in their

21   Class Period statements in violation of a duty to disclose such information, as detailed above.

22                                              VIII. COUNT ONE
23                            Violation of Section 10(b) of the Exchange Act and
                         Rule 10b-5 Promulgated Thereunder Against All Defendants
24
            108.     Plaintiffs repeat and reallege each and every allegation contained above as if fully set
25
     forth herein.
26

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 1          109.    This Count is asserted against the Company and the Individual Defendants and is

 2   based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

 3   thereunder by the SEC.

 4          110.    During the Class Period, the Company and the Individual Defendants, individually

 5   and in concert, directly or indirectly, disseminated or approved the false statements specified above,

 6   which they knew or deliberately disregarded were misleading in that they contained

 7   misrepresentations and failed to disclose material facts necessary in order to make the statements

 8   made, in light of the circumstances under which they were made, not misleading.

 9          111.    The Company and the Individual Defendants violated §10(b) of the 1934 Act and

10   Rule 10b-5 in that they:

11                  •      employed devices, schemes and artifices to defraud;

12                  •      made untrue statements of material facts or omitted to state material facts

13                  necessary in order to make the statements made, in light of the circumstances under

14                  which they were made, not misleading; or

15                  •      engaged in acts, practices and a course of business that operated as a fraud or

16                  deceit upon Plaintiffs and others similarly situated in connection with their purchases

17                  of Sunrun securities during the Class Period.

18          112.    The Company and the Individual Defendants acted with scienter in that they knew

19   that the public documents and statements issued or disseminated in the name of the Company were

20   materially false and misleading; knew that such statements or documents would be issued or

21   disseminated to the investing public; and knowingly and substantially participated, or acquiesced in

22   the issuance or dissemination of such statements or documents as primary violations of the securities

23   laws. These Defendants by virtue of their receipt of information reflecting the true facts of the

24   Company, their control over, and/or receipt and/or modification of the Company’s allegedly

25   materially misleading statements, and/or their associations with the Company which made them

26   privy to confidential proprietary information concerning the Company, participated in the fraudulent

27   scheme alleged herein.

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 1             113.   Individual Defendants, who are the senior officers and/or directors of the Company,

 2   had actual knowledge of the material omissions and/or the falsity of the material statements set forth

 3   above, and intended to deceive Plaintiffs and the other members of the Class, or, in the alternative,

 4   acted with reckless disregard for the truth when they failed to ascertain and disclose the true facts in

 5   the statements made by them or other personnel of the Company to members of the investing public,

 6   including Plaintiffs and the Class.

 7             114.   As a result of the foregoing, the market price of Sunrun securities was artificially

 8   inflated during the Class Period. In ignorance of the falsity of the Company’s and the Individual

 9   Defendants’ statements, Plaintiffs and the other members of the Class relied on the statements

10   described above and/or the integrity of the market price of Sunrun securities during the Class Period

11   in purchasing Sunrun securities at prices that were artificially inflated as a result of the Company’s

12   and the Individual Defendants’ false and misleading statements.

13             115.   Had Plaintiffs and the other members of the Class been aware that the market price of

14   Sunrun securities had been artificially and falsely inflated by the Company’s and the Individual

15   Defendants’ misleading statements and by the material adverse information which the Company’s

16   and the Individual Defendants did not disclose, they would not have purchased Sunrun securities at

17   the artificially inflated prices that they did, or at all.

18             116.   As a result of the wrongful conduct alleged herein, Plaintiffs and other members of

19   the Class have suffered damages in an amount to be established at trial.

20             117.   By reason of the foregoing, the Company and the Individual Defendants have

21   violated Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to the

22   Plaintiffs and the other members of the Class for substantial damages which they suffered in

23   connection with their purchases of Sunrun securities during the Class Period.

24                                              IX.      COUNT TWO
25             Violation of Section 20(a) of the Exchange Act Against the Individual Defendants
26             118.   Plaintiffs repeat and reallege each and every allegation above as if fully set forth

27   herein.

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 1          119.    During the Class Period, the Individual Defendants participated in the operation and

 2   management of the Company, and conducted and participated, directly and indirectly, in the conduct

 3   of the Company’s business affairs. Because of their senior positions, they knew the adverse non-

 4   public information regarding the Company’s business practices.

 5          120.    As officers and/or directors of a publicly owned company, the Individual Defendants

 6   had a duty to disseminate accurate and truthful information with respect to the Company’s financial

 7   condition and results of operations, and to correct promptly any public statements issued by the

 8   Company which had become materially false or misleading.

 9          121.    Because of their positions of control and authority as senior officers, the Individual

10   Defendants were able to, and did, control the contents of the various reports, press releases and

11   public filings which the Company disseminated in the marketplace during the Class Period.

12   Throughout the Class Period, the Individual Defendants exercised their power and authority to cause

13   the Company to engage in the wrongful acts complained of herein. The Individual Defendants

14   therefore, were “controlling persons” of the Company within the meaning of Section 20(a) of the

15   Exchange Act. In this capacity, they participated in the unlawful conduct alleged which artificially

16   inflated the market price of Sunrun securities.

17          122.    Each of the Individual Defendants, therefore, acted as a controlling person of the

18   Company. By reason of their senior management positions and/or being directors of the Company,

19   each of the Individual Defendants had the power to direct the actions of, and exercised the same to

20   cause, the Company to engage in the unlawful acts and conduct complained of herein. Each of the

21   Individual Defendants exercised control over the general operations of the Company and possessed

22   the power to control the specific activities which comprise the primary violations about which

23   Plaintiffs and the other members of the Class complain.

24          123.    By reason of the above conduct, the Individual Defendants are liable pursuant to

25   Section 20(a) of the Exchange Act for the violations committed by the Company.

26                                     X.      PRAYER FOR RELIEF
27          WHEREFORE, Plaintiffs demands judgment against Defendants as follows:

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 1          A.      Determining that the instant action may be maintained as a class action under Rule 23

 2   of the Federal Rules of Civil Procedure, and certifying Plaintiffs as the Class representative;

 3          B.      Requiring Defendants to pay damages sustained by Plaintiffs and the Class by reason

 4   of the acts and transactions alleged herein;

 5          C.      Awarding Plaintiffs and the other members of the Class prejudgment and post-

 6   judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

 7          D.      Awarding such other and further relief as this Court may deem just and proper.

 8                                   XI.     JURY TRIAL DEMANDED
 9          Plaintiffs hereby demand a trial by jury in this Action.

10
     Dated: May 3, 2018                                   Respectfully submitted,
11
                                                          POMERANTZ LLP
12

13                                                        /s/ Austin P. Van
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14                                                        Marc I. Gross (admitted pro hac vice)
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 1                                     CERTIFICATE OF SERVICE
 2          I hereby certify that on May 3, 2018, a copy of the foregoing was filed electronically and

 3   served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-

 4   mail to all parties by operation of the Court’s electronic filing system or by mail to anyone unable to

 5   accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing

 6   through the Court’s CM/ECF System.

 7
                                                          /s/ Austin P. Van
 8                                                        Austin P. Van
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